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                            IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE


                                                      )
     NIPPON SHINYAKU CO., LTD., a                     )
     Japanese company;                                )
                                                      )
                                                      )    CIVIL ACTION NO. ________
                             Plaintiff,
                                                      )
                                                      )
     v.
                                                      )
                                                      )
     SAREPTA THERAPEUTICS, INC., a
                                                      )
     Delaware corporation                             )
                                                          Public Version Filed July 20, 2021

                                                      )
                             Defendant.               )


  COMPLAINT FOR                    , DECLARATORY JUDGEMENT OF
 NON-INFRINGEMENT AND PATENT INVALIDITY, AND PATENT INFRINGEMENT

             Nippon Shinyaku Co., Ltd. (“Nippon Shinyaku” or “Plaintiff”) by and through its

 undersigned attorneys, alleges as follows for its Complaint for                               , Declaratory

 Judgment of Non-Infringement and Patent Invalidity, and Patent Infringement against Sarepta

 Therapeutics, Inc. (“Sarepta” or “Defendant”):

                                           Nature of the Action

             1.     Nippon Shinyaku asserts a claim                             . This claim arises out of

 Sarepta’s

                       . Sarepta                          filing seven petitions for Inter Partes Review

 (collectively, the “IPR Petitions”) with the Patent Trial and Appeal Board (“PTAB”) at the United

 States Patent and Trademark Office (“USPTO”).1 The IPR Petitions seek to invalidate U.S. Patent



 1
          Sarepta’s IPR Petitions were filed with the following case numbers: (i) IPR2021-01134; (ii)
          IPR2021-01135; (iii) IPR2021-01136; (iv) IPR2021-01137; (v) IPR2021-01138; (vi)
          IPR2021-01139; and (vii) IPR2021-01140.
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 Nos. 9,708,361 (“’361 Patent,” attached hereto as Ex. B); 10,385,092 (“’092 Patent,” attached

 hereto as Ex. C); 10,407,461 (“’461 Patent,” attached hereto as Ex. D); 10,487,106 (“’106 Patent,”

 attached hereto as Ex. E); 10,647,741 (“’741 Patent, attached hereto as Ex. F); 10,662,217 (“’217

 Patent, attached hereto as Ex. G); and 10,683,322 (“’322 Patent,” attached hereto as Ex. H).

 Sarepta’s filing of the IPR Petitions directly



                                             .

        2.      Nippon Shinyaku also asserts claims for declaratory judgment of non-infringement

 and invalidity of United States Patent Nos. 9,994,851 (“’851 Patent,” attached hereto as Ex. I),

 10,227,590 (“’590 Patent,” attached hereto as Ex. J), and 10,266,827 (“’827 Patent,” attached

 hereto as Ex. K) (collectively, the “Western Australia Patents” or “UWA Patents”). These claims

 arise out of Sarepta’s infringement allegations against Nippon Shinyaku for its current

 manufacture, use, sale, offer to sell within the United States, and/or importation into the United

 States of VILTEPSO®, also known as “viltolarsen” or “NS-065.” Upon information and belief,

 Sarepta is the exclusive licensee with assertion rights for the UWA Patents.

        3.      Nippon Shinyaku further asserts claims for patent infringement of the ’361 Patent,

 ’092 Patent, ’461 Patent, ’106 Patent, ’741 Patent, ’217 Patent, and ’322 Patent (collectively, the

 “NS Patents”). These claims arise out of Sarepta’s manufacture, use, sale, offers to sell within the

 United States, and/or importation into the United States of its morpholino antisense oligomer

 (“ASO”) that induces skipping of exon 53 of the human dystrophin gene to treat Duchenne

 Muscular Dystrophy (“DMD”) and Sarepta’s intentional encouragement of physicians to




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 administer this ASO to patients. Sarepta developed this ASO under the names “SRP-4053” and

 “golodirsen” and markets it in the United States as VYONDYS 53.

                                                 Parties

         4.      Nippon Shinyaku is a Japanese company with a principal place of business at 14,

 Nishinosho-Monguchi-cho, Kisshoin, Minami-ku, Kyoto 601-8550, Japan.

         5.      Nippon Shinyaku is an innovative pharmaceutical company whose mission is to

 “help people lead healthier, happier lives.” It accomplishes this mission by developing and

 supplying unique and high-quality therapies that are safe and highly effective relative to other

 drugs and that contribute to a better quality of life for patients.

         6.      Nippon Shinyaku not only serves general patient populations through its various

 drugs for urological diseases, hematology, gynecology, and otorhinolaryngology—but it also

 seeks to provide meaningful relief for patients suffering from rare, intractable diseases like DMD.

         7.      Upon information and belief, Sarepta is a Delaware corporation with its principal

 place of business at 215 First Street, Cambridge, Massachusetts 02142.

                                        Jurisdiction and Venue

         8.      Nippon Shinyaku’s claim




         9.      Nippon Shinyaku’s claims for declaratory judgment of non-infringement and

 invalidity of the UWA Patents arise under the Patent Laws of the United States, 35 U.S.C. §§ 1 et

 seq. and under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq.

         10.     This   Court    has    subject-matter     jurisdiction   over   these   claims   under

 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202.



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                                 Duchenne Muscular Dystrophy

        18.     DMD is a severe X chromosome-linked genetic disorder that predominantly affects

 young boys. Approximately one in every 3,500 boys suffer from DMD, which is the most common

 form of hereditary progressive muscular dystrophy. Children with DMD suffer muscle weakness

 as early as age four and progressively lose muscle function and quality-of-life. By age twelve,

 DMD patients typically lose ambulatory function and are confined to wheelchairs. Body-wide

 muscle loss also contributes to numerous other health complications throughout patients’ lives.

 As a result of DMD-induced cardiac and/or respiratory deficiencies, most patients suffering from

 DMD do not live past their twenties.

        19.     DMD is caused by mutation(s) in the dystrophin gene, which codes for the

 dystrophin protein. The dystrophin protein contributes to cell membrane stability in muscle cells

 and makes muscle cells less fragile. In DMD patients, however, the mutated dystrophin gene

 causes significant under-expression of the dystrophin protein, leaving them with insufficient levels

 of dystrophin protein to maintain their muscle cells.

        20.     The dystrophin gene is long, spanning approximately 2.2 million nucleotide pairs

 and comprising 79 exons (regions of nucleotides that code for the 3,685 amino acids making up

 the dystrophin protein) interspersed with introns (regions that do not code for the dystrophin

 protein).




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        21.     In a non-DMD patient, cells generally prepare dystrophin protein from the gene as

 follows:

                Transcription: The dystrophin gene (DNA) is transcribed into an RNA
                strand containing both exons and introns known as “pre-mRNA.”

                Splicing: Cellular machinery removes intron sequences and “splices” the
                exons together to form mRNA.

                Translation: Cellular machinery “reads” the mRNA strand three
                nucleotides at a time to determine and assemble the amino acid sequence
                for dystrophin.

        22.     DMD typically results when a mutation shifts the amino acid reading frame,

 producing a non-functional dystrophin protein. As show below, even a single nucleotide deletion

 can alter how the cellular machinery reads the remainder of the mRNA sequence (and

 consequently how the cell assembles the dystrophin protein).

                Original:      ABC ABC ABC ABC ABC ABC

                Mutation:      ABA BCA BCA BCA BCA BCA

        23.     Mutations that preserve the original amino acid reading frame may produce a

 partially functional dystrophin protein with exon deletions. This typically causes a less-severe

 condition known as Becker Muscular Dystrophy (“BMD”). Like DMD, BMD patients suffer from

 muscle weakness and atrophy, but they experience milder and slower disease progression. Many

 BMD patients do not experience symptoms of disease onset until they are well into adulthood.

        24.     There is no cure for DMD.             Care providers have traditionally prescribed

 corticosteroids to promote muscle strength and delay disease progression. Such treatment carries

 substantial risks of side-effects, including weight gain and weakened bones, and does not stop the

 progress of the disease.




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                 Exon-Skipping Antisense Oligomers as a Therapeutic Option

         25.    Antisense oligomers (“ASOs”) are short nucleic acid strands that modify splice

 patterns to address the genetic defects responsible for DMD. ASOs bind with particular nucleotide

 sequences in or near the exon of interest on the pre-mRNA strand. ASOs interfere with the

 ordinary splicing process, causing the cell to “skip” the mutated exon(s) when preparing mRNA.

         26.    By “skipping” the mutated exons, ASOs cause cells to prepare shorter-than-normal

 mRNA while preserving the original amino acid reading frame. As a result, patients’ cells produce

 partially functional—rather than non-functional—protein. Applied to DMD, these treatments

 effectively convert a DMD patient into a BMD patient, providing substantially better quality-of-

 life.

                Nippon Shinyaku’s Development of Exon 53 Skipping Oligomers

         27.    Recognizing the severe impact of DMD, Nippon Shinyaku began developing exon

 skipping therapies for DMD. Nippon Shinyaku focused first on therapies targeting exon 53, which

 would provide a treatment for approximately 8% of all DMD patients.           Nippon Shinyaku

 ultimately determined that a 21 nucleobase (also call a 21mer) sequence targeted to the 36th to

 56th nucleotides from the 5’ end of exon 53 (H53_36-56) exhibited superior exon skipping.

         28.    On September 1, 2010, Nippon Shinyaku and National Center of Neurology and

 Psychiatry (“NCNP”) filed Japanese Patent App. No. 2010-196032, which described their

 discoveries.

         29.    Nippon Shinyaku has since continued its development of the 21mer ASO—now

 known as VILTEPSO®—and secured approval in both Japan and the United States for the use of

 VILTEPSO® in treating DMD. While clinical trials are ongoing, initial results are promising.

 “[D]ystrophin levels increased, on average, from 0.6% of normal at baseline to 5.9% of normal at



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 week 25.”2 And VILTEPSO® patients did not experience kidney toxicity, a side effect the United

 States Food & Drug Administration (“FDA”) reported for other ASOs. Id.

                                     The NS Patents-In-Suit

        30.     On July 18, 2017, the ’361 Patent, entitled “Antisense Nucleic Acids,” issued to

 Nippon Shinyaku and NCNP as assignees with named inventors Naoki Watanabe, Youhei Satou,

 Shin’ichi Takeda, and Tetsuya Nagata. The ’361 Patent is fully maintained, valid, and enforceable.

 A copy of the ’361 Patent is attached as Exhibit B.

        31.     On August 20, 2019, the ’092 Patent, entitled “Antisense Nucleic Acids,” issued to

 Nippon Shinyaku and NCNP as assignees with named inventors Naoki Watanabe, Youhei Satou,

 Shin’ichi Takeda, and Tetsuya Nagata. The ’092 Patent is fully maintained, valid, and enforceable.

 A copy of the ’092 Patent is attached as Exhibit C.

        32.     On September 10, 2019, the ’461 Patent entitled “Antisense Nucleic Acids,” issued

 to Nippon Shinyaku and NCNP as assignees with named inventors Naoki Watanabe, Youhei

 Satou, Shin’ichi Takeda, and Tetsuya Nagata. The ’461 Patent is fully maintained and valid and

 enforceable. A copy of the ’461 Patent is attached as Exhibit D.

        33.     On November 26, 2019, the ’106 Patent entitled “Antisense Nucleic Acids,” issued

 to Nippon Shinyaku and NCNP as assignees with named inventors Naoki Watanabe, Youhei

 Satou, Shin’ichi Takeda, and Tetsuya Nagata. The ’106 Patent is fully maintained and valid and

 enforceable. A copy of the ’106 Patent is attached as Exhibit E.




 2
     FOOD & DRUG ADMIN., FDA Approves Targeted Treatment for Rare Duchenne Muscular
     Dystrophy Mutation, (Aug. 12, 2020), https://www.fda.gov/news-events/press-
     announcements/fda-approves-targeted-treatment-rare-duchenne-muscular-dystrophy-
     mutation (last accessed July 8, 2021).
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        34.     On May 12, 2020, the ’741 Patent entitled “Antisense Nucleic Acids,” issued to

 Nippon Shinyaku and NCNP as assignees with named inventors Naoki Watanabe, Youhei Satou,

 Shin’ichi Takeda, and Tetsuya Nagata. The ’741 Patent is fully maintained and valid and

 enforceable. A copy of the ’741 Patent is attached as Exhibit F.

        35.     On May 26, 2020, the ’217 Patent entitled “Antisense Nucleic Acids,” issued to

 Nippon Shinyaku and NCNP as assignees with named inventors Naoki Watanabe, Youhei Satou,

 Shin’ichi Takeda, and Tetsuya Nagata. The ’217 Patent is fully maintained and valid and

 enforceable. A copy of the ’217 Patent is attached as Exhibit G.

        36.     On June 16, 2020, the ’322 Patent entitled “Antisense Nucleic Acids,” issued to

 Nippon Shinyaku and NCNP as assignees with named inventors Naoki Watanabe, Youhei Satou,

 Shin’ichi Takeda, and Tetsuya Nagata. The ’322 Patent is fully maintained and valid and

 enforceable. A copy of the ’322 Patent is attached as Exhibit H.

        37.     By virtue of a license agreement with NCNP, Nippon Shinyaku holds the exclusive

 assertion rights for the NS Patents.

                                        The UWA Patents

        38.     On June 12, 2018, the ’851 Patent entitled “Antisense Oligonucleotides for

 Inducing Exon Skipping and Methods of Use Thereof” issued to the University of Western

 Australia (“UWA”) as assignees with named inventors Stephen Donald Wilton, Sue Fletcher, and

 Graham McClorey. On information and belief, Sarepta holds exclusive assertion rights of the

 ’851 Patent.

        39.     On March 12, 2019, the ’590 Patent entitled “Antisense Oligonucleotides for

 Inducing Exon Skipping and Methods of Use Thereof” issued to UWA as assignees with named




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  inventors Stephen Donald Wilton, Sue Fletcher, and Graham McClorey. On information and

  belief, Sarepta holds exclusive assertion rights of the ’590 Patent.

         40.      On April 23, 2019, the ’827 Patent entitled “Antisense Oligonucleotides for

  Inducing Exon Skipping and Methods of Use Thereof” issued to The UWA as assignees with

  named inventors Stephen Donald Wilton, Sue Fletcher, and Graham McClorey. On information

  and belief, Sarepta holds exclusive assertion rights of the ’827 Patent.

                                    Sarepta’s Infringing Product

         41.     Upon information and belief, Sarepta’s product, VYONDYS 53, is a 25mer ASO

  that is 100% complementary, according to Watson-Crick base pairing, to the 36th to 60th

  nucleotides from the 5’ end of exon 53 of human dystrophin pre-mRNA and hybridizes with the

  36th to 60th nucleotides from the 5’ end of exon 53 of human dystrophin pre-mRNA.3

         42.     Upon information and belief, VYONDYS 53 induces skipping of the 53rd exon in

  a human dystrophin pre-mRNA.

         43.     Upon information and belief, VYONDYS 53 is administered to patients and

  induces skipping of the 53rd exon of human dystrophin pre-mRNA in patients. Sarepta’s label for

  VYONDYS 53 has encouraged—and continue to encourage—such use.

         44.     Upon information and belief, Sarepta copied VYONDYS 53 from Japanese Patent

  App. No. 2010-196032 and/or another related patent application.

         45.     Upon information and belief, since at least 2014, Sarepta actively researched and

  developed VYONDYS 53, including the development and approval of clinical trials.



  3
      See, e.g., Highlights of Prescribing Information (Dec. 12, 2019) § 11, available at
      https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/211970s000lbl.pdf (last accessed
      July 8, 2021); Highlights of Prescribing Information (Feb. 11, 2021) § 11, available at
      https://www.accessdata.fda.gov/drugsatfda_docs/label/2021/211970s002lbl.pdf (last accessed
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         46.     On December 12, 2019, FDA announced it had granted accelerated approval to

  VYONDYS 53 for the treatment of DMD.4

         47.     On December 12, 2019, Sarepta announced that “[c]ommercial distribution of

  VYONDYS 53 in the U.S. will commence immediately.” 5

         48.     Upon information and belief, since at least December 2019, Sarepta has

  manufactured, offered for sale, and sold VYONDYS 53 in the United States for the treatment of

  DMD. Sarepta’s Form 10-K Annual Report for 2020 describes VYONDYS 53 as a “commercial

  product” and states that VYONDYS 53 was “sold in 2020 and 2019.”

         49.     Upon information and belief, since at least December 2019, Sarepta has encouraged

  physicians to treat DMD patients by administering VYONDYS 53 to induce skipping of the 53rd

  exon of human dystrophin pre-mRNA in patients, including through its labels for VYONDYS 53.

                                  Sarepta’s

         50.

         51.




         52.




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      FOOD & DRUG ADMIN., FDA Grants Accelerated Approval to First Targeted Treatment for
      Rare Duchenne Muscular Dystrophy Mutation, (Dec. 12, 2019), https://www.fda.gov/news-
      events/press-announcements/fda-grants-accelerated-approval-first-targeted-treatment-rare-
      duchenne-muscular-dystrophy-mutation (last accessed July 8, 2021).
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      Sarepta Therapeutics, Sarepta Therapeutics Announces FDA Approval of VYONDYS 53™
      (golodirsen) Injection for the Treatment of Duchenne Muscular Dystrophy (DMD) in Patients
      Amenable       to     Skipping     Exon      53,     (Dec.    12,   2019),   available    at
      https://investorrelations.sarepta.com/static-files/15f0244f-6c99-42de-9919-30e801049ee0
      (last accessed July 8, 2021).
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                                           CLAIM II
                 (Declaratory Judgment of Non-Infringement of the UWA Patents)

         65.      Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.

         66.      There is an actual case and controversy between Nippon Shinyaku and Sarepta

  regarding the UWA Patents,




         67.      Nippon Shinyaku denies infringing, inducing others to infringe, or contributing to

  the infringement of any claim of the UWA Patents, either literally or under the doctrine of

  equivalents.

                                          CLAIM III
                     (Declaratory Judgment of Invalidity of the UWA Patents)

         68.      Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.

         69.      There is an actual case and controversy between Nippon Shinyaku and Sarepta

  regarding the UWA Patents, as evidenced by Sarepta’s statements to Nippon Shinyaku—alleging

  that its UWA Patents were valid and infringed and that Nippon Shinyaku’s viltolarsen requires a

  license to the UWA Patents. This actual case and controversy is also evidenced by Sarepta’s prior

  statements to Nippon Shinyaku that it intended to resort to the legal process should the parties’

  discussions pursuant to the MCA fail to reach a business resolution and Sarepta’s refusal to

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         70.     The claims of the UWA Patents are invalid for failing to comply with the conditions

  and requirements of the patent laws of the United States, including, specifically and without

  limitation, 35 U.S.C. §§ 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

         71.     For example, the UWA Patents are invalid under 35 U.S.C. § 103 in light of at least

  the following prior art, either alone or in combination:

                 U.S. Patent No. 6,653,467 B1 to Matsuo;

                 PCT Pub. No. WO 2002/024906 A1 to Van Ommen et al.;

                 PCT Pub. No. WO 2004/083432 A1 to Van Ommen et al.;

                 European Patent App. No. 1 568 769 A1 to Matsuo;

                 Errington, et al., 5 J. GENE MED. 518 (2003);

                 Morita et al., 11 BIORGANIC & MED. CHEM. 2211 (2003);

                 Summerton, 10 LTRS. IN PEPTIDE SCI. 215 (2003);

                 Summerton & Weller, 7 ANTISENSE & NUCLEIC ACID DRUG DEV. 187 (1997).

         72.     The UWA Patents are also invalid under the written description requirement of

  35 U.S.C. § 112. For example, the inventors of the UWA Patents possessed, at most, only a very

  small number of ASOs, which are reported to display only a minimal amount of exon-skipping

  activity and none that meet each element for any independent claim. Thus, the ASOs within the

  inventors’ possession are insufficient to support the broad genus of the claims.

         73.     The UWA Patents are also invalid under the enablement requirement of

  35 U.S.C. § 112. For example, the UWA Patents do not reasonably inform a person of skill in the

  art how to determine whether a given ASO of “20 to 31 bases” with “at least 12 consecutive bases



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  of . . . SEQ ID NO: 195” induces skipping of exon 53 and required undue experimentation, among

  other things, in order to practice the full scope of the claimed inventions.

         74.     The UWA Patents are further invalid under the indefiniteness requirement of

  35 U.S.C. § 112.

                                            CLAIM IV
                                  (Infringement of the ’361 Patent)

         75.     Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.

         76.     Claim 1 of the ’361 Patent claims:

         1. An antisense oligomer which causes skipping of the 53rd exon in the human
         dystrophin gene, consisting of the nucleotide sequence of SEQ ID NO: 57, wherein
         the antisense oligomer is an oligonucleotide in which the sugar moiety and/or the
         phosphate-binding region of at least one nucleotide constituting the oligonucleotide
         is modified, or a morpholino oligomer.

         77.     “Golodirsen is an antisense oligonucleotide of the phosphorodiamidate morpholino

  oligomer (PMO) subclass.”        Highlights of Prescribing Information (Dec. 12, 2019) § 11.

  “Golodirsen contains 25 linked subunits.” Id.

         78.     “Golodirsen is designed to bind to exon 53 of dystrophin pre-mRNA resulting in

  exclusion of this exon during mRNA processing in patients with genetic mutations that are

  amenable to exon 53 skipping.” Highlights of Prescribing Information (Dec. 12, 2019) § 12.1.

         79.     “The sequence of bases from the 5’ end to 3’ end [of golodirsen] is

  GTTGCCTCCGGTTCTGAAGGTGTTC.” Id.

         80.     VYONDYS 53 thus satisfies each element and infringes, either literally or under

  the doctrine of equivalents, at least claim 1 of the ’361 Patent.




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         81.      On information and belief, Sarepta has infringed the ’361 Patent by engaging in

  the commercial manufacture, use, offer to sell, sale, and/or importation into the United States of

  VYONDYS 53 before the expiration of the ’ 361 Patent in violation of 35 U.S.C. § 271(a).

         82.     VYONDYS 53 is indicated “for the treatment of Duchenne muscular dystrophy

  (DMD) in patients who have a confirmed mutation of the DMD gene that is amenable to exon 53

  skipping.” Highlights of Prescribing Information (Dec. 12, 2019) § 1. As such, VYONDYS 53 is

  not suitable for substantial non-infringing uses.

         83.     On information and belief, Sarepta has contributorily infringed the ’ 361 Patent by

  engaging in the commercial manufacture, use, offer to sell, sale, and/or importation into the United

  States of VYONDYS 53 before the expiration of the ’ 361 Patent in violation of 35 U.S.C. § 271(c).

         84.     Sarepta’s labels for VYONDYS 53 encourage physicians and patients to use

  VYONDYS 53 to treat “Duchenne muscular dystrophy (DMD) in patients who have a confirmed

  mutation of the DMD gene that is amenable to exon 53 skipping.” Highlights of Prescribing

  Information (Dec. 12, 2019) § 1; Highlights of Prescribing Information (Feb. 11, 2021) § 1.

         85.     On information and belief, Sarepta has induced infringement of the ’ 361 Patent by

  encouraging others to use VYONDYS 53 in the United States before the expiration of the ’ 361

  Patent in violation of 35 U.S.C. § 271(b).

         86.     On information and belief, Sarepta’s infringement of the ’361 Patent has been

  willful. Sarepta had knowledge of the ’361 Patent. Despite this knowledge, Sarepta continues to

  knowingly, willfully, deliberately, maliciously, and in bad faith infringe the ’361 Patent, and, in

  doing so, knew or should have known that its conduct amounted to infringement.

         87.     This case is exceptional, and Nippon Shinyaku is entitled to an award of attorneys’

  fees under 35 U.S.C. § 285



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                                                    CLAIM V
                                          (Infringement of the ’092 Patent)

            88.       Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.

            89.       Claim 1 of the ’092 Patent claims:

            1. A phosphorodiamidate morpholino oligomer (PMO) antisense oligomer that
            causes skipping of the 53rd exon in a human dystrophin pre-mRNA, consisting of
            a 25-mer oligomer that is 100% complementary to the 36th to the 60th nucleotides
            from the 5’ end of the 53rd exon in said human dystrophin pre-mRNA, wherein the
            53rd exon in said human dystrophin pre-mRNA consists of a nucleotide sequence
            corresponding to SEQ ID NO: 1, and wherein said PMO antisense oligomer
            hybridizes to said pre-mRNA with Watson-Crick base pairing under physiological
            conditions.

            90.       “Golodirsen is an antisense oligonucleotide of the phosphorodiamidate morpholino

  oligomer (PMO) subclass.”                Highlights of Prescribing Information (Dec. 12, 2019) § 11.

  “Golodirsen contains 25 linked subunits.” Id.

            91.       “The sequence of bases from the 5’ end to 3’ end [of golodirsen] is

  GTTGCCTCCGGTTCTGAAGGTGTTC.” Id.

            92.       The       sequence       5’–GTTGCCTCCGGTTCTGAAGGTGTTC–3’                            is       100%

  complementary to the 36th to the 60th nucleotides from the 5’ end of the 53rd exon in human

  dystrophin pre-mRNA that consists of a nucleotide sequence corresponding to SEQ ID NO: 1:

                                Positions 36 to 60 form the 5’ end of SEQ ID No. 1 (shown 3’ to 5’)

   3’   C    A    A    C    G     G   A    G   G   C    C   A    A   G   A   C    T   T   C    C      A   C    A   A    G   5’
   5’   G    T    T    G    C     C   T    C   C   G    G   T    T   C   T   G    A   A   G    G      T   G    T    T   C   3’
                                                   Golodirsen (shown 5’ to 3’)

            93.       “Golodirsen is designed to bind to exon 53 of dystrophin pre-mRNA resulting in

  exclusion of this exon during mRNA processing in patients with genetic mutations that are

  amenable to exon 53 skipping.” Highlights of Prescribing Information (Dec. 12, 2019) § 12.1.



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         94.     VYONDYS 53 thus satisfies each element and infringes, either literally or under

  the doctrine of equivalents, at least claim 1 of the ’092 Patent.

         95.      On information and belief, Sarepta has infringed the ’092 Patent by engaging in

  the commercial manufacture, use, offer to sell, sale, and/or importation into the United States of

  VYONDYS 53 before the expiration of the ’092 Patent in violation of 35 U.S.C. § 271(a).

         96.     VYONDYS 53 is indicated “for the treatment of Duchenne muscular dystrophy

  (DMD) in patients who have a confirmed mutation of the DMD gene that is amenable to exon 53

  skipping.” Highlights of Prescribing Information (Dec. 12, 2019) § 1. As such, VYONDYS 53 is

  not suitable for substantial non-infringing uses.

         97.     On information and belief, Sarepta has contributorily infringed the ’092 Patent by

  engaging in the commercial manufacture, use, offer to sell, sale, and/or importation into the United

  States of VYONDYS 53 before the expiration of the ’092 Patent in violation of 35 U.S.C. § 271(c).

         98.     Sarepta’s labels for VYONDYS 53 encourage physicians and patients to use

  VYONDYS 53 to treat “Duchenne muscular dystrophy (DMD) in patients who have a confirmed

  mutation of the DMD gene that is amenable to exon 53 skipping.” Highlights of Prescribing

  Information (Dec. 12, 2019) § 1; Highlights of Prescribing Information (Feb. 11, 2021) § 1.

         99.     On information and belief, Sarepta has induced infringement of the ’092 Patent by

  encouraging others to use VYONDYS 53 in the United States before the expiration of the ’092

  Patent in violation of 35 U.S.C. § 271(b).

         100.    On information and belief, Sarepta’s infringement of the ’092 Patent has been

  willful. Sarepta had knowledge of the ’092 Patent. Despite this knowledge, Sarepta continues to

  knowingly, willfully, deliberately, maliciously, and in bad faith infringe the ’092 Patent, and, in

  doing so, knew or should have known that its conduct amounted to infringement.



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            101.       This case is exceptional, and Nippon Shinyaku is entitled to an award of attorneys’

  fees under 35 U.S.C. § 285.

                                                    CLAIM VI
                                          (Infringement of the ’461 Patent)

            102.       Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.

            103.       Claim 1 of the ’461 Patent claims:

            1. A phosphorodiamidate morpholino oligomer (PMO) antisense oligomer that
            causes skipping of the 53rd exon in a human dystrophin pre-mRNA, consisting of
            a 25-mer oligomer that is 100% complementary to the target sequence 5’-
            GAACACCUUCAGAACCGGAGGCAAC-3’ (SEQ ID NO: 124) of said human
            dystrophin pre-mRNA, wherein said PMO antisense oligomer hybridizes to said
            target sequence with Watson-Crick base pairing under physiological conditions,
            wherein each phosphorodiamidate morpholino monomer of said PMO antisense
            oligomer has the formula:




            wherein each of R2 and R3 represents a methyl; and wherein Base is a nucleobase
            selected from the group consisting of uracil, cytosine, thymine, adenine, and
            guanine.

            104.       The       sequence       5’–GTTGCCTCCGGTTCTGAAGGTGTTC–3’                           is       100%

  complementary to the target sequence 5’-GAACACCUUCAGAACCGGAGGCAAC-3’ (SEQ ID

  NO: 124):

                                                    SEQ ID No. 124 (shown 3’ to 5’)

   3’   C    A     A    C    G    G   A     G   G     C   C   A    A   G   A   C      U   U   C   C   A   C    A   A    G   5’
   5’   G    T     T    G    C    C   T     C   C     G   G   T    T   C   T   G      A   A   G   G   T   G    T    T   C   3’


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                                            Golodirsen (shown 5’ to 3’)

         105.    The structure of golodirsen is:




  Highlights of Prescribing Information (Dec. 12, 2019) § 11. As shown above, each monomer of

  golodirsen has methyl groups at the locations corresponding to R2 and R3 and a Base that is

  cytosine, thymine, adenine, or guanine.

         106.     As discussed above, VYONDYS 53 meets the remaining elements of claim 1 of

  the ’461 Patent. VYONDYS 53 thus satisfies each element and infringes, either literally or under

  the doctrine of equivalents, at least claim 1 of the ’461 Patent.




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         107.     On information and belief, Sarepta has infringed the ’461 Patent by engaging in

  the commercial manufacture, use, offer to sell, sale, and/or importation into the United States of

  VYONDYS 53 before the expiration of the ’461 Patent in violation of 35 U.S.C. § 271(a).

         108.    On information and belief, Sarepta has contributorily infringed the ’092 Patent by

  engaging in the commercial manufacture, use, offer to sell, sale, and/or importation into the United

  States of VYONDYS 53 before the expiration of the ’461 Patent in violation of 35 U.S.C. § 271(c).

         109.    On information and belief, Sarepta has induced infringement of the ’461 Patent by

  encouraging others to use VYONDYS 53 in the United States before the expiration of the ’461

  Patent in violation of 35 U.S.C. § 271(b).

         110.    On information and belief, Sarepta’s infringement of the ’461 Patent has been

  willful. Sarepta had knowledge of the ’461 Patent. Despite this knowledge, Sarepta continues to

  knowingly, willfully, deliberately, maliciously, and in bad faith infringe the ’461 Patent, and, in

  doing so, knew or should have known that its conduct amounted to infringement.

         111.    This case is exceptional, and Nippon Shinyaku is entitled to an award of attorneys’

  fees under 35 U.S.C. § 285.

                                            CLAIM VII
                                  (Infringement of the ’106 Patent)

         112.    Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.

         113.    Claim 1 of the ’106 Patent claims:

         1. A phosphorodiamidate morpholino oligomer (PMO) consisting of a 25-mer
         antisense oligomer that is 100% complementary, according to Watson-Crick base
         pairing, to the 36th to the 60th nucleotides from the 5’ end of the 53rd exon in a
         human dystrophin pre-mRNA, wherein the 53rd exon in said human dystrophin pre-
         mRNA consists of a nucleotide sequence corresponding to SEQ ID NO: 1, wherein
         each phosphorodiamidate morpholino monomer of said PMO has the formula:



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        wherein each of R2 and R3 represents a methyl; and wherein Base is a nucleobase
        selected from the group consisting of cytosine, thymine, adenine, and guanine; and
        wherein the 5' end of said PMO has a formula selected from the group consisting
        of:




        114.   The 5’ end of golodirsen has at least the claimed formula shown below:




                    Claim 1                                        Golodirsen




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         115.    As discussed above, VYONDYS 53 meets the remaining elements of claim 1 of the

  ’106 Patent. VYONDYS 53 thus satisfies each element and infringes, either literally or under the

  doctrine of equivalents, at least claim 1 of the ’106 Patent.

         116.    On information and belief, Sarepta has infringed the ’106 Patent by engaging in the

  commercial manufacture, use, offer to sell, sale, and/or importation into the United States of

  VYONDYS 53 before the expiration of the ’106 Patent in violation of 35 U.S.C. § 271(a).

         117.    On information and belief, Sarepta has contributorily infringed the ’092 Patent by

  engaging in the commercial manufacture, use, offer to sell, sale, and/or importation into the United

  States of VYONDYS 53 before the expiration of the ’106 Patent in violation of 35 U.S.C. § 271(c).

         118.    On information and belief, Sarepta has induced infringement of the ’106 Patent by

  encouraging others to use VYONDYS 53 in the United States before the expiration of the ’106

  Patent in violation of 35 U.S.C. § 271(b).

         119.    On information and belief, Sarepta’s infringement of the ’106 Patent has been

  willful. Sarepta had knowledge of the ’106 Patent. Despite this knowledge, Sarepta continues to

  knowingly, willfully, deliberately, maliciously, and in bad faith infringe the ’106 Patent, and, in

  doing so, knew or should have known that its conduct amounted to infringement.

         120.    This case is exceptional, and Nippon Shinyaku is entitled to an award of attorneys’

  fees under 35 U.S.C. § 285.

                                            CLAIM VIII
                                  (Infringement of the ’741 Patent)

         121.    Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.

         122.    Claim 1 of the ’741 Patent claims:

         1. A method comprising administering to a patient with DMD an antisense
         phosphorodiamidate morpholino oligomer (PMO) consisting of a 25-mer oligomer
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         that is 100% complementary to the 36th to the 60th nucleotides from the 5’ end of
         the 53rd exon in a human dystrophin pre-mRNA, wherein the 53rd exon in said
         human dystrophin pre-mRNA consists of a nucleotide sequence corresponding to
         SEQ ID NO: 1, wherein said PMO hybridizes to said human dystrophin pre-mRNA
         with Watson-Crick base pairing, and wherein skipping of the 53rd exon is induced
         in said patient.

         123.    Sarepta’s label for VYONDYS 53 encourage physicians to administer

  VYONDYS 53 to treat “Duchenne muscular dystrophy (DMD) in patients who have a confirmed

  mutation of the DMD gene that is amenable to exon 53 skipping.” Highlights of Prescribing

  Information (Dec. 12, 2019) § 1; Highlights of Prescribing Information (Feb. 11, 2021) § 1.

         124.    This administration of VYONDYS 53 “result[s] in exclusion of this exon [exon 53

  of dystrophin pre-mRNA] during mRNA processing in patients.” Highlights of Prescribing

  Information (Dec. 12, 2019) § 12.1; Highlights of Prescribing Information (Feb. 11, 2021) § 12.1.

         125.    As discussed above, VYONDYS 53 meets the remaining elements of claim 1 of the

  ’741 Patent. This use of VYONDYS 53 thus satisfies each element and infringes, either literally

  or under the doctrine of equivalents, at least claim 1 of the ’741 Patent.

         126.    On information and belief, Sarepta has induced infringement of the ’741 Patent by

  engaging in the commercial manufacture, use, offer to sell, sale, or importation into the United

  States of VYONDYS 53 for the purpose of administration to DMD patients and encouraging others

  to use the claimed methods in the United States before the expiration of the ’741 Patent in violation

  of 35 U.S.C. § 271(b).

         127.    On information and belief, Sarepta’s infringement of the ’741 Patent has been

  willful. Sarepta had knowledge of the ’741 Patent. Despite this knowledge, Sarepta continues to

  knowingly, willfully, deliberately, maliciously, and in bad faith infringe the ’741 Patent, and, in

  doing so, knew or should have known that its conduct amounted to infringement.




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         128.    This case is exceptional, and Nippon Shinyaku is entitled to an award of attorneys’

  fees under 35 U.S.C. § 285.

                                            CLAIM IX
                                  (Infringement of the ’217 Patent)

         129.    Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.

         130.    Claim 1 of the ’217 Patent claims:

         1. A method of treating a DMD patient comprising intravenously administering to
         said patient an oligomer comprising:
         a) a phosphorodiamidate morpholino oligomer (PMO) that is 100% complementary
         to the 36th to the 60th nucleotides from the 5’ end of the 53rd exon in a human
         dystrophin pre-mRNA, wherein the 53rd exon in said human dystrophin pre-
         mRNA consists of a nucleotide sequence corresponding to SEQ ID NO: 1, wherein
         said PMO hybridizes to said human dystrophin pre-mRNA with Watson-Crick base
         pairing, wherein the phosphorodiamidate morpholino monomers of said PMO have
         the formula:




         wherein each of R2 and R3 represents a methyl; and wherein Base is a nucleobase
         selected from the group consisting of cytosine, thymine, adenine, and guanine; and
         b) a group at the 5’ end of said PMO with the formula:




         131.    Sarepta’s label for VYONDYS 53 encourage physicians to administer VYONDYS

  53 to treat “Duchenne muscular dystrophy (DMD) in patients who have a confirmed mutation of




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  the DMD gene that is amenable to exon 53 skipping.” Highlights of Prescribing Information (Dec.

  12, 2019) § 1; Highlights of Prescribing Information (Feb. 11, 2021) § 1.

         132.    Sarepta’s label for VYONDYS 53 specifically instructs physicians that

  “VYONDYS 53 is administered via intravenous infusion.” Highlights of Prescribing Information

  (Dec. 12, 2019) § 2.4; Highlights of Prescribing Information (Feb. 11, 2021) § 2.4.

         133.    As discussed above, VYONDYS meets the remaining elements of claim 1 of the

  ’217 Patent. This use of VYONDYS 53 thus satisfies each element and infringes, either literally

  or under the doctrine of equivalents, at least claim 1 of the ’217 Patent.

         134.    On information and belief, Sarepta has induced infringement of the ’217 Patent by

  engaging in the commercial manufacture, use, offer to sell, sale, or importation into the United

  States of VYONDYS 53 for the purpose of administration to DMD patients and encouraging others

  to use the claimed methods in the United States before the expiration of the ’217 Patent in violation

  of 35 U.S.C. § 271(b).

         135.    On information and belief, Sarepta’s infringement of the ’217 Patent has been

  willful. Sarepta had knowledge of the ’217 Patent. Despite this knowledge, Sarepta continues to

  knowingly, willfully, deliberately, maliciously, and in bad faith infringe the ’217 Patent, and, in

  doing so, knew or should have known that its conduct amounted to infringement.

         136.    This case is exceptional, and Nippon Shinyaku is entitled to an award of attorneys’

  fees under 35 U.S.C. § 285.

                                            CLAIM X
                                  (Infringement of the ’322 Patent)

         137.    Nippon Shinyaku realleges and incorporates by reference the allegations set forth

  in the preceding paragraphs as if fully set forth herein.




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           138.   On information and belief, Sarepta’s manufacturing process for VYONDYS 53

  includes (i) reacting the compound shown below left with an acid to form the compound shown

  below right; and then (ii) reacting the compound shown below right with a morpholino monomer

  in the presence of a base and a solvent.




           139.   On information and belief, Sarepta’s manufacturing process for VYONDYS 53

  includes iteratively reacting the resultant compound first with an acid and then second with a

  morpholino monomer in the presence of a base and a solvent to add phosphorodiamidate

  morpholino monomers to the compound.

           140.   On information and belief, this iterative process results in the compound shown

  below left, which Sarepta reacts with a deprotecting agent to form the compound shown below

  right:




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         141.    On information and belief, Sarepta’s manufacturing process for VYONDYS 53

  includes reacting the compound shown above right with an acid to form a phosphorodiamidate

  morpholino oligomer.

         142.    On information and belief, Sarepta’s manufacturing process for VYONDYS 53

  satisfies each element and infringes, either literally or under the doctrine of equivalents, at least

  claim 1 of the ’322 Patent.

         143.    On information and belief, Sarepta has infringed the ’322 Patent by engaging in the

  commercial manufacture, use, offer to sell, sale, or importation into the United States of

  VYONDYS 53 before the expiration of the ’322 Patent in violation of 35 U.S.C. § 271(a) and (g).

         144.     As discussed above, VYONDYS meets the remaining elements of claim 1 of the

  ’322 Patent. This use of VYONDYS 53 thus satisfies each element and infringes, either literally

  or under the doctrine of equivalents, at least claim 1 of the ’322 Patent.

         145.    On information and belief, Sarepta has induced and/or contributed to infringement

  of the ’322 Patent by engaging in the commercial manufacture, use, offer to sell, sale, or

  importation into the United States of VYONDYS 53 for the purpose of administration to DMD



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  patients and encouraging others to use the claimed methods in the United States before the

  expiration of the ’322 Patent in violation of 35 U.S.C. § 271(b).

         146.    On information and belief, Sarepta’s infringement of the ’322 Patent has been

  willful. Sarepta had knowledge of the ’322 Patent. Despite this knowledge, Sarepta continues to

  knowingly, willfully, deliberately, maliciously, and in bad faith infringe the ’322 Patent, and, in

  doing so, knew or should have known that its conduct amounted to infringement.

         147.    This case is exceptional, and Nippon Shinyaku is entitled to an award of attorneys’

  fees under 35 U.S.C. § 285.

                                           PRAYER FOR RELIEF

         WHEREFORE, Nippon Shinyaku prays for judgment against Defendant Sarepta,

  respectfully requests the following relief:

         1.      A judgment that Sarepta has

                                ;

         2.      A declaration of Sarepta’s                                            ;

         3.      An order




                                                                      ;

         4.      An award of all legal fees and costs, including attorneys’ fees, that Nippon

  Shinyaku incurs to                                                                        as well as

  all legal fees and costs, including attorneys’ fees, that Nippon Shinyaku incurs to oppose Sarepta’s

  challenges before the PTAB;



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         5.      A judgment that Nippon Shinyaku has not infringed and will not infringe the UWA

  Patents;

         6.      A judgment that the UWA Patents are invalid;

         7.      A judgment that Sarepta has been and will continue infringing each of the

  NS Patents;

         8.      A judgment that Sarepta’s infringement was willful and trebling any damages found

  or assessed;

         9.      To the extent that Sarepta has or will commercially manufacture, use, offer to sell,

  or sell VYONDYS 53 within the United States, or import VYONDYS 53 into the United States,

  prior to the expiration of the NS Patents, including any extensions, a judgment awarding Nippon

  Shinyaku monetary relief together with interest;

         10.     A judgment that this is an exceptional case and that Nippon Shinyaku be awarded

  its attorneys’ fees incurred in this action pursuant to 35 U.S.C. § 285;

         11.     Costs and expenses in this action; and

         12.     Such other and further relief as the Court deems just and appropriate.

                                  DEMAND FOR A JURY TRIAL

         Pursuant to Federal Rule of Civil Procedure 38(c), Nippon Shinyaku demands a jury trial

  solely regarding claims II-X of the instant Complaint.




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  Dated: July 13, 2021                                  Respectfully submitted,


                                                        MORGAN, LEWIS & BOCKIUS LLP


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